Case 8:15-cv-00158-MSS-MAP Document 9 Filed 04/01/15 Page 1 of 2 PageID 33




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

Ashley Watson
                                                     Case No. 8:15-cv-00158-MSS-MAP
       Plaintiff,

v.
                                                        NOTICE OF SETTLEMENT
Medicredit, Inc.

       Defendant.


       Now comes Plaintiff, through counsel, to notify the Court that the parties have reached a

settlement. The parties are currently working on facilitating the settlement. Plaintiff expects to

dismiss this case within sixty days.



                                              RESPECTFULLY SUBMITTED,


                                              By: s/ H. Karen Gatto____
                                                 H. Karen Gatto, Esq.
                                                 Florida Bar No: 0190527
                                                 Of Counsel, Hyslip & Taylor, LLC, LPA
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                                                 Tampa, FL 33614
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                                                 Attorney for Plaintiff




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Case 8:15-cv-00158-MSS-MAP Document 9 Filed 04/01/15 Page 2 of 2 PageID 34




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 1, 2015, I electronically filed the foregoing Notice. Service

of this filing will be made by the Court’s ECF System upon the following:


Patricia Lehtinen Silva
Lathrop & Gage LLP
Pierre Laclede Center
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Counsel for Defendant
                                                     s/ H. Karen Gatto




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